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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )             Case No. CR09-98-RSL
10         v.                             )
                                          )
11   JEANIE DYSON,                        )             DETENTION ORDER
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offense charged:

15          Count 1: Bank Fraud, in violation of 18 U.S.C. § 1343§

16 Date of Detention Hearing: April 6, 2009.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

19          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

20          (1)     Defendant has stipulated to detention due to being in custody, but reserves the

21 right to contest her continued detention if there is a change in circumstances.

22          (2)     There appear to be no conditions or combination of conditions other than

23 detention that will reasonably assure the appearance of defendant as required or ensure the safety

24 of the community.

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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         IT IS THEREFORE ORDERED:

02         (1)   Defendant shall be detained pending trial and committed to the custody of the

03               Attorney General for confinement in a correctional facility separate, to the extent

04               practicable, from persons awaiting or serving sentences or being held in custody

05               pending appeal;

06         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

07               counsel;

08         (3)   On order of a court of the United States or on request of an attorney for the

09               government, the person in charge of the corrections facility in which defendant

10               is confined shall deliver the defendant to a United States Marshal for the purpose

11               of an appearance in connection with a court proceeding; and

12         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

13               counsel for the defendant, to the United States Marshal, and to the United States

14               Pretrial Services Officer.

15
                 DATED this 6th day of April, 2009.
16

17                                                      A
                                                        JAMES P. DONOHUE
18                                                      United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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